 Case 23-01092-MBK           Doc 152    Filed 06/01/23 Entered 06/01/23 12:00:57             Desc Main
                                       Document     Page 1 of 2




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                                                 June 1, 2023



   Honorable Michael B. Kaplan
   Chief United States Bankruptcy Judge
   United States Bankruptcy Court
   Clarkson S. Fisher US Courthouse
   402 East State Street
   Trenton, NJ 08608

            Re:      LTL Management LLC - Case No. 23-12825 (MBK)
                     Order Granting Application to Shorten Time Regarding
                     Debtor’s Motion for Bridge Order Confirming Automatic
                     Stay Applies to Certain Actions
                     Our File No.: 24987.003

   Dear Judge Kaplan:

           I write on behalf of the TCC with regard to the Order entered by Your Honor this morning
   scheduling a hearing on the Debtor’s Motion for a bridge order confirming the automatic stay
   applies to certain actions (Docket No. 147). The Debtor’s Motion was filed at approximately 8:00
   p.m. last evening.

           Had the TCC been provided with the opportunity, the TCC certainly would have objected
   to the entry of the Order Shortening Time as the matters raised in the Motion are significant and
   warrant an opportunity for the parties to prepare and file a written response. As the Court is aware,
   the preliminary injunction granted by Your Honor runs through June 15, 2023 and the Court has
   scheduled a hearing on continuation of that injunction on June 13, 2023, when all parties intend to
   be present in the Court.
Case 23-01092-MBK         Doc 152    Filed 06/01/23 Entered 06/01/23 12:00:57           Desc Main
                                    Document     Page 2 of 2




 Hon. Michael B. Kaplan
 June 1, 2023
                                                                                            Page 2


        I am aware that Mr. Placitella, who is one of the primary targets of the Debtor’s Motion is
 overseas and will be unavailable for the hearing on Friday. It is hard to imagine any irreparable
 harm that would befall the Debtor if the Debtor’s Motion were heard on June 13 th , rather than
 tomorrow.

         Based upon the foregoing, the TCC respectfully requests that the Court vacate its Order
 Shortening Time and instead list the Debtor’s Motion for June 13, 2023. We thank the Court for
 its consideration of this request.


                                                     Respectfully yours,

                                                     GENOVA BURNS LLC



                                                     DANIEL M. STOLZ

 DMS:ms

 cc: All counsel of record

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